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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI

ROBERT PENDERGRASS,
ERIC KOECHLING, and
JAMES PATTON,


                  Plaintiffs,
                                                    Case No. 4:18-cv-01092

         v.


BI-STATE UTILITIES CO.,


                  Defendant.



                     JOINT MOTION FOR APPROVAL OF SETTLEMENT

         COMES NOW Plaintiffs Robert Pendergrass, Eric Koechling and James Patton

(“Plaintiffs”) and Defendant Bi-State Utilities Co. (“Defendant”), and state as follows for their

Joint Motion for Approval of Settlement and Entry of Order of Dismissal:

         1.       Plaintiffs filed this action against Defendant alleging that Defendant violated the

Fair Labor Standards Act (“FLSA”) (29 U.S.C. §201 et. seq.), Missouri wage and hour laws and

state common law by purportedly failing to pay Plaintiffs for all time worked.

         2.       Defendant denies that it owes any overtime or other wages or damages to

Plaintiffs and denies that it has violated any federal or Missouri law, rule or regulation, and

maintains that it has at all times properly compensated the Plaintiffs.

         3.       A bona fide dispute exists between Defendant and Plaintiffs as to the amount, if

any, of unpaid wages or overtime owing to Plaintiffs.

         4.       Plaintiffs have had an opportunity to confer with their Counsel regarding their

claims, Defendant’s defenses, the strengths, weaknesses, and risks of each.


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         5.       Plaintiffs have each entered a separate confidential settlement agreement, copies

of which are attached hereto as Exhibit A (the "Settlement Agreements").

         6.       Plaintiffs and Defendant have agreed to fully and finally settle and resolve this

dispute and any and all claims that they may have asserted in this lawsuit, subject to the Court’s

approval.

         7.       Defendant and Plaintiff Robert Pendergrass each believe that their settlement is a

fair and reasonable resolution of the claims asserted.

         8.       Defendant and Plaintiff Eric Koechling each believe that their settlement is a fair

and reasonable resolution of the claims asserted.

         9.       Defendant and Plaintiff James Patton each believe that their settlement is a fair

and reasonable resolution of the claims asserted.

         10.      Court approval of a private settlement has been held necessary to effectuate a

valid and enforceable release of FLSA claims. See, e.g., Brooklyn Sav. Bank v. O'Neil, 324 U.S.

697 (1945).1

         11.      Where, as here, the litigation arises from a private enforcement action under

Section 216(b) of the FLSA, the standard for approval is straightforward: a district court should

approve a fair and reasonable settlement if it was reached as a result of contested litigation to

resolve a bona fide dispute between the parties, and it contains an award of reasonable attorneys’

fees. See Lynn’s Food Stores, Inc. v. U.S., 679 F.2d 1350, 1352‐54 (11th Cir. 1982) (citing



1 But see King v. Raineri Const., LLC, No. 4:14-CV-1828 CEJ, 2015 WL 631253, at *1 (E.D.
Mo. Feb. 12, 2015) (The Court first notes that the law is unsettled as to whether judicial approval
of a proposed settlement of FLSA claims is required in the absence of a certified class.") (citing
Martin v. Spring Break ′83 Prods., L.L.C., 688 F.3d 247, 257 (5th Cir.2012) (enforcing private
settlement agreement entered into without judicial consent where plaintiff were represented by
counsel and the court determined a bona fide dispute had existed when the settlement was
entered)).

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Brooklyn Savings Bank, 324 U.S. 697); Hill v. World Wide Tech. Holding Co., Inc., No.

4:11CV02108-AGF, 2012 WL 5285927, *1 (E.D. Mo. Oct. 25, 2012); Stewart v. USA Tank

Sales & Erection Co., Inc., No. 12‐05136‐CV‐SW‐DGK, 2014 WL 836212, *1 (W.D. Mo. Mar.

4, 2014); Jones v. Synergies3 TEC Services, LLC, No. 4:18-cv-01161-JAR, 2018 WL 6727061,

*2 (E.D. Mo. Dec. 21, 2018).

         12.      The proposed settlements meet this standard, as they are the product of a bona

fide dispute, are fair and reasonable, and provide for fair and reasonable awards of wages,

liquidated damages, and payment of attorneys’ fees that are in line with fee awards in this district

and the Eighth Circuit.

         13.      Based on all of the foregoing, the Parties respectfully seek entry of an Order

approving the terms of the Settlement Agreements attached hereto as Exhibit A. A copy of the

Proposed Order approving the terms of the Settlement Agreement is attached hereto as

Exhibit B.

         14.      After the Court approves the terms of the Settlement Agreements, the Parties shall

fulfil the terms of the Settlement Agreements and thereafter file with the Court a Joint

Stipulation for Dismissal and Proposed Order seeking dismissal of this matter with prejudice.

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                                      STINSON LLP

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